Case 8:17-CV-03117-VI\/|C-AAS Document 1 Filed 12/29/17 Page 1 of 13 Page|D 1

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
MARK R. SHEVCHIK,
Plaintiff,

v. Case No:

RUSHMORE LOAN MANAGEMENT

 

SERVICES, LLC, and MTGLQ
INVESTORS, LP, DEMAND FOR JURY TRIAL
Defendants.
/
PLAINTIFF’S COMPLAINT

WITH INJUNCTIVE RELIEF SOUGHT

COMES NOW, Plaintiff, MARK SHEVCHIK (“Mr. Shevchik” or “Plaintiff”),

by and through the undersigned counsel, and hereby sues and files this Complaint and

Demand for Jury Trial With Injunctive Relief Sought against Defendants, RUSHMORE

LOAN MANAGEMENT SERVICES, LLC (“Debt Collector”) and MTGLQ

INVESTORS, LP (“Debt Owner”) (collectively “Defendants”), and in support thereof
states as follows:

Introductz‘on

l. Thjs action arises out of a “Debt” or “Consumer Debt” as defined by Fla. Stat. §

559.55 (6) and Defendants’ violations of the Fair Debt Collection Practices Act, 15

U.S.C. § 1692 et. seq. (“FDCPA”), and the Florida Consumer Collection Practices

Act, Fla. Stat. § 559.72 et. seq. (“FCCPA”), in attempting to collect such Debt by

directly communicating with Mr. Shevchik in connection with the collection of the

P|aintift’s Comglaint and Demand for lug Trial with lnjunctive Relief Sought
Shevchik v. Rushmore Loan Managemenr Services, LLC and MTGLQ lnvestors, LP
Page l of 13

 

Case 8:17-CV-03117-VI\/|C-AAS Document 1 Filed 12/29/17 Page 2 of 13 Page|D 2

Debt when Defendants know that the Debt is uncollectible because it was previously
waived pursuant to a court order and When Defendants know that Mr. Shevchik is
represented by counsel with respect to the Debt.
Jurisdiction and Venue

2. This Court has subject matter jurisdiction over the instant case under 28 U.S.C.
§1331.

3. Jurisdiction of this Court also arises under 15 U.S.C. § 1692k (d) and Fla. Stat. §
559.77 (1).

4. Venue lies in this District pursuant to 28 U.S.C. § 1391 (b), as a substantial part of the
events or omissions giving rise to the claims occurred in this judicial district

£’M

5. Plaintiff, Mr. Shevchik, was and is a natural person and, at all times material hereto,
is an adult, a resident of Pinellas County, Florida, a “consumer” as defined by 15
U.S.C. § 1692a(3), and “debtor” or “consumer” as defined by Fla. Stat. § 559.55 (8).

6. At all times material hereto, Debt Collector was and is a foreign limited liability
company with its principle place of business in the State of California and its
registered agent, CORPORATION SERVICE COMPANY, located at 1201 Hays
Street, Tallahassee, FL 32301.

7. Further, at all times material hereto, Defendant is a “Consurner Collection Agency” as
defined by Fla. Stat. § 559.55 (3) and/or a “Debt Collector” as defined by Fla. Stat. §

559.55 (7) & 15 U.s.C § 169za (6).

P|aintiff` s Complaint and Demand for Ju;y Trial with Injunctive Relief Sought
Shevchik v. Rushmore Loan Managemenl Services, LLC and MTGLQ Investors, LP

Page 2 of 13

 

Case 8:17-CV-O3117-V|\/|C-AAS Document 1 Filed 12/29/17 Page 3 of 13 Page|D 3

8. At all times material hereto, Debt Owner was and is a foreign limited partnership With
its principal place of business in the State of New York and its registered agent, C T
CORPORATION SYSTEM, located at 1200 South Pine Island Road, Plantation, FL
33324.

9. At all times material hereto, Debt Collector was performing debt collection owed to
Debt Owner to satisfy Mr. Shevchik’s alleged debt.

10. At all times material hereto, Debt Collector was acting Within the scope of an
employee, representative, or agent on behalf of Debt Owner for purposes of collecting
Mr. Shevchik’s alleged debt for Debt Owner.

11. As such, Debt Owner is responsible for the conduct of Debt Collector as its
employee, representative, or agent.

12. Under information and belief`, Debt Owner granted Debt Collector access to
information and systems that normally would be within Debt Owner’s exclusive
control, including, but not limited to Mr. Shevchik’s information.

13. Under information and belief, Debt Owner allowed Debt Collector to enter Mr.
Shevchik’s information into Debt Owner’s sales or customer systems.

14. Under information and belief, Debt Owner gave Debt Collector authority to use the
principal’s trade name, trademark, or service mark.

15 . Under information and belief, Debt Owner approved, Wrote, or reviewed a form letter
for Debt Collector to use when contacting Mr. Shevchik.

16. Under information and belief, Debt Owner had actual knowledge of Debt Collector’s

FDCPA and FCCPA violations when communicating with Mr. Shevchik in

Plaintiff"s Comglaint and Demand for lug Tria| with lnjunctive Relief South
Shevchik v. Rushmore Loan Management Services, LLC and MTGLQ Invesrors, LP

Page 3 of 13

 

Case 8:17-CV-O3117-V|\/|C-AAS Document 1 Filed 12/29/17 Page 4 of 13 Page|D 4

l7.

18.

19.

20.

21.

22.

23.

connection with the collection of the alleged debt and Debt Owner failed to stop such
violations by Debt Collector.
Under information and belief, via a contractual relationship between the parties, Debt
Owner had control or the ability to control Debt Collector’s actions in attempting to
collect Mr. Shevchik’s debt on behalf of Debt Owner.
Statements of F act

On or around April 16, 2007, Mr. Shevchik executed and delivered a promissory note
(“Note”) and mortgage (“Mortgage”) that was secured by real property located at 915
Seminole Street, Clearwater, FL 33755 (“Property”).
Sometime thereafter, Mr. Shevchik fell behind on his monthly installment payments
towards the Mortgage.
On or around August 21, 2014, the servicer on the Mortgage at the time, Green Tree
Servicing, LLC, filed a Verified Complaint to Foreclose Mortgage. See Pinellas
County Case No. 14-0063 06-CI (“Foreclosure Case”). See Exhibit “A.”
On or around December 9, 2016, the court entered an order granting Green Tree
Servicing, LLC’s Motion to Substitute Real Party in Interest, which thereafter
designated Debt Owner as the Foreclosure Case plaintiff.
On or around March 21, 2017, the parties filed a Stipulation as to Consent to Final
Judgment in the Foreclosure Case. See Exhibit “B.”
The Stipulation as to Consent to Final Judgment states, in relevant part:

“4.~ The Plaintiff agrees to waive deficiency as to

Defendants, MARK R. SHEVCHIK AND TAMARA
SHEVCHIK.”

Plaintifi`s Complaint and Demand for Jug Trial with lniunctive Relief Sought
Shevchik v. Rushmore Loan Management Services, LLC and MTGLQ Investors, LP

Page 4 of 13

 

Case 8:17-CV-O3117-V|\/|C-AAS Document 1 Filed 12/29/17 Page 5 of 13 Page|D 5

See Exhibit “B,” p. 2.

24. The Stipulation as to Consent to Final Judgment was signed by all parties to the
Foreclosure Case and was sent to Mr. Shevchik’s attorney that represented Mr.
Shevchik with respect to the Debt in the Foreclosure Case. See Exhibit “B,” p. 4.

25. On or around April 24, 2017, the court entered its Final Judgment of Foreclosure. See
Exhibit “C.”

26. The Final Judgment of Foreclosure states, in relevant part:

“Plaintiff has agreed to waive the deficiency as to
Defendants, Mark Shevchik and Tamara Shevchik in
exchange for a consent judgment.”

See Exhibit “C,” p. 12.

27. The Final Judgment of Foreclosure foreclosed on Mr. Shevchik’s interest in the
Property.

28. The Final Judgment of Foreclosure terminated any rights that Debt Owner or any
purported assignees or servicers of the Mortgage thereafter, including Debt Collector,
had against Mr. Shevchik with respect to the Debt as a result of the deficiency
(“Debt”) waiver thereunder.

29. Debt Collector was thereafter assigned the Mortgage and became servicer of the loan
on the Property.

30. Part and parcel of Debt Collector being servicer for the Mortgage includes the
responsibility to attempt to collect the Debt.

31. At all times relevant hereto. Debt Owner and Debt Collector had actual knowledge

that the Final Judgment of Foreclosure foreclosed Mr. Shevchik’s interest in the

Plaintiff’s Complaint and Demand for .Iug Trial with lniunctive Relief South
Shevchik v. Rushmore Loan Managemem Services, LLC and MTGLQ Inveslors, LP

Page 5 of 13

 

Case 8:17-CV-O3117-V|\/|C-AAS Document 1 Filed 12/29/17 Page 6 of 13 Page|D 6

Property and terminated any rights that Debt Owner and Debt Collector had against
Mr. Shevchik with respect to the Debt as a result of the Debt waiver thereunder.

32. Debt Collector had actual knowledge of the fact that the Debt had been waived
pursuant to the Final Judgment of Foreclosure because Debt Collector, as servicer,
had access to all records of Debt Owner concerning the Account - including, but not
limited to, records of the Foreclosure Case and all papers that were transferred to
Debt Owner at the time of acquisition of the Mortgage.

33. Under information and belief, Debt Collector had actual knowledge of the fact that
the Debt had been waived pursuant to the Final Judgment of Foreclosure because
Debt Owner advised Debt Collector of this circumstance upon Debt Collector
becoming servicer.

34. As servicer for the Debt, Debt Collector is an agent of Debt Owner in regards to the
Debt and had actual knowledge that the Debt was waived pursuant to the Final
Judgment of Foreclosure.

35. Despite having actual knowledge that the Debt was waived pursuant to the Final
Judgment of Foreclosure, Debt Collector sent a collection letter to Mr. Shevchik in
attempts to collect the Debt on behalf of Debt Owner.

36. Specifically, Debt Collector sent Mr. Shevchik a collection letter dated August ll,
2017 (“Collection Letter”). See Exhibit “D.”

37. The Collection Letter was individually addressed to Mr. Shevchik, listed the Property
address, the Amount Due as $42,942.08, a Due Date of 09/01/2017, and a late fee of

$38.15 if payment was received after 09/16/2017.

Plaintiff’s Complaint and Demand for lug Trial with lniunctive Relief Sougl_it
Shevchik v. Rushmore Loan Management Services. LLC and MTGLQ Investors, LP

Page 6 of 13

 

Case 8:17-CV-O3117-V|\/|C-AAS Document 1 Filed 12/29/17 Page 7 of 13 Page|D 7

38. Debt Collector sent the Collection Letter in connection with the collection of the
Debt.
Count 1: Violation of the Fair Debt Collection Practices Act (“FDCPA ”l
(as againLert CollectQ‘l
39. Mr. Shevchik re-alleges paragraphs 1-38 and incorporates the same herein by
reference.
40. Mr. Shevchik is a “consumer” within the meaning of the FDCPA.
41 . The subject debt is a “consumer debt” Within the meaning of the FDCPA.
42. Defendant is a “debt collector” within the meaning of the FDCPA.
43. Defendant violated the FDCPA. Defendant’s violations include, but are not
limited to, the following:
a. Debt Collector violated 15 U.S.C. § 1692c(a) by Sending Mr.
Shevchik the Collection Letter after Debt Collector knew that Mr.
Shevchik Was represented by an attorney with respect to the Debt
and had knowledge of Mr. Shevchik’s attorney’s name and
address.
b. Debt Collector violated 15 U.S.C. § 1692e(2)(A) by falsely
representing the legal status of the Debt as owed by Mr. Shevchik
and that the Debt was collectible in its Collection Letter when Debt
Collector knew the Debt had been waived pursuant to the Final

Judgment of Foreclosure.

Plaintiff’s Complaint and Demand for .|ugg Trial with lniunctive Relief Sought
Shevchik v. Rushmore Loan Managemen! Services, LLC and MTGLQ Inveslors, LP

Page 7 of 13

 

Case 8:17-CV-O3117-V|\/|C-AAS Document 1 Filed 12/29/17 Page 8 of 13 Page|D 8

c. Debt Collector violated 15 U.S.C. § 1692e (10) by misrepresenting
that the Debt was owed by Mr. Shevchik and that the Debt was
collectible in its Collection Letter in an attempt to collect the Debt,
which deceived Mr. Shevchik into believing that he owed the Debt
despite its waiver pursuant to the Final Judgment of Foreclosure.

44. As a result of the above violations of the FDCPA, Mr. Shevchik has been subjected to
illegal collection activities for which he has been damaged.

45 . Debt Collector’s actions have damaged Mr. Shevchik by violating his right to not be
contacted directly regarding the Debt when Defendant had actual knowledge that Mr.
Shevchik is represented by counsel with respect to the Debt.

46. Defendant’s actions have damaged Mr. Shevchik by invading his privacy.

47. Defendant’s actions have damaged Mr. Shevchik by causing him embarrassment

48. Defendant’s actions have damaged Mr. Shevchik by causing him stress.

49. Defendant’s actions have damaged Mr. Shevchik by causing him aggravation

50. Defendant’s actions have damaged Mr. Shevchik by banning his reputation.

51. Defendant’s actions have damaged Mr. Shevchik by causing him to lose sleep.

52. It has been necessary for Mr. Shevchik to retain the undersigned counsel to prosecute
the instant action, for which he is obligated to pay a reasonable attorney’s fee.

53. All conditions precedent to this action have occurred.

WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment

against Debt Collector as follows:

Plaintift`s Complaint and Demand for Ju[y Tria| with lniunctive Relief Sought
Shevchik v. Rushmore Loan Managemen! Services. LLC and MTGLQ Investors, LP

Page 8 of 13

 

Case 8:17-CV-O3117-V|\/|C-AAS Document 1 Filed 12/29/17 Page 9 of 13 Page|D 9

a. Awarding statutory damages as provided by 15 U.S.C.
l692k(a)(2)(A);

b. Awarding actual damages;

c. Awarding costs and attorneys’ fees; and

Any other and further relief as this Court deems equitable.

Count 2: Violation of the Florida Consumer Collection Practices Act [“FCCPA ”j
(as against Debt Collector)

54. Mr. Shevchik re-alleges paragraphs 1-38 and incorporates the same herein by
reference.
55. Debt Collector violated the FCCPA. Debt Collector’s violations include, but are not
limited to, the following:
a. Debt Collector violated Fla. Stat. § 559.72(9) by claiming and
attempting to enforce the Debt by sending the Collection Letter
when Debt Collector knew that the Debt was uncollectible from
Mr. Shevchik because it had been waived pursuant to the Final
Judgment of Foreclosure.
b. Debt Collector violated Fla. Stat. § 559.72(18) by communicating
with Mr. Shevchik by sending the Collection Letter when Debt
Collector knew that Mr. Shevchik was represented by an attorney
with respect to the Debt and had knowledge of Mr. Shevchik’s

attorney’s name and address.

Plaintiff’s Complaint and Demand for lug Trial with lniunctive Relief Sought
Shevchik v. Rushmore Loan Management Services, LLC and MTGLQ lnveslors, LP
Page 9 of 13

 

Case 8:17-CV-O3117-V|\/|C-AAS Document 1 Filed 12/29/17 Page 10 of 13 Page|D 10

56. As a result of the above violations of the FCCPA, Mr. Shevchik has been subjected to
unwarranted and illegal collection activities and harassment for which he has been
damaged.

57. Debt Collector’s actions have damaged Mr. Shevchik by violating his right to not be
contacted directly regarding the Debt when Defendant had actual knowledge that Mr.
Shevchik is represented by counsel with respect to the Debt.

5 8. Defendant’s actions have damaged Mr. Shevchik by invading his privacy.

59. Defendant’s actions have damaged Mr. Shevchik by causing him embarrassment

60. Defendant’s actions have damaged Mr. Shevchik by causing him stress.

61. Defendant’s actions have damaged Mr. Shevchik by causing him aggravation

62. Defendant’s actions have damaged Mr. Shevchik by harming his reputation.

63. Defendant’s actions have damaged Mr. Shevchik by causing him to lose sleep.

64. It has been necessary for Mr. Shevchik to retain the undersigned counsel to prosecute
the instant action, for which he is obligated to pay a reasonable attorney’s fee.

65. All conditions precedent to this action have occurred.

WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment
against Debt Collector as follows:
a. Awarding statutory damages as provided by §559.77, Fla. Stat.;
b. Awarding actual damages;
c. Awarding punitive damages;

d. Awarding costs and attorneys’ fees;

Plaintiff’s Complaint and Demand for Jury Trial with Iniunctive Relief Sought
Shevchik v. Rushmore Loan Managemenr Services, LLC and MTGLQ Invesrors, LP

Page 10 of 13

 

Case 8:17-CV-O3117-V|\/|C-AAS Document 1 Filed 12/29/17 Page 11 of 13 Page|D 11

e. Ordering an injunction preventing further wrongful contact by the
Defendant; and

f. Any other and further relief as this Court deems equitable.

Count 3: Violgtion of the Florida Consumer Collection Practices Act (“FCCPA ”)
(as against Debt Ownerj

66. Plaintiff re-alleges paragraphs 1-38 and incorporates the same herein by reference.
67. At all times relevant hereto, Debt Owner was vicariously liable for the actions of
Debt Collector.
68. Debt Collector violated the FCCPA. Debt Collector’s violations include, but are not
limited to, the following:
a. Debt Collector violated Fla. Stat. § 559.72(9) by claiming and
attempting to enforce the Debt by sending the Collection Letter
when Debt Collector knew that the Debt was uncollectible from
Mr. Shevchik because it had been waived pursuant to the Final
Judgment of Foreclosure.
b. Debt Collector violated Fla. Stat. § 559.72(18) by communicating
with Mr. Shevchik by sending the Collection Letter when Debt
Collector knew that Mr. Shevchik was represented by an attorney
with respect to the Debt and had knowledge of Mr. Shevchik’s

attomey’s name and address

Plaintiff`s Complaint and Demand for lug Trial with lnjunctive Relief Sought
Shevchik v. Rushmore Loan Management Services, LLC and MTGLQ lnvestors, LP

Page ll of 13

 

Case 8:17-CV-O3117-V|\/|C-AAS Document 1 Filed 12/29/17 Page 12 of 13 Page|D 12

69. As a result of the above violations of the FCCPA, Mr. Shevchik has been subjected to
unwarranted and illegal collection activities and harassment for which he has been
damaged

70. Debt Collector’s actions have damaged Mr. Shevchik by violating his right to not be
contacted directly regarding the Debt when Defendant had actual knowledge that Mr.
Shevchik is represented by counsel with respect to the Debt.

71. Defendant’s actions have damaged Mr. Shevchik by invading his privacy.

72. Defendant’s actions have damaged Mr. Shevchik by causing him embarrassment

73. Defendant’s actions have damaged Mr. Shevchik by causing him stress.

74. Defendant’s actions have damaged Mr. Shevchik by causing him aggravation

75. Defendant’s actions have damaged Mr. Shevchik by harming his reputation.

76. Defendant’s actions have damaged Mr. Shevchik by causing him to lose sleep.

77. It has been necessary for Mr. Shevchik to retain the undersigned counsel to prosecute
the instant action, for Which he is obligated to pay a reasonable attomey’s fee.

78. All conditions precedent to this action have occurred.

WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment
against Debt Owner as follows:
a. Awarding statutory damages as provided by §559.77, Fla. Stat.;
b. Awarding actual damages;
c. Awarding punitive damages;

d. Awarding costs and attorneys’ fees;

Plaintifl`s Complaint and Demand for ing Trial with Iniunctive Relief Sougl_it
Shevchik v. Rushmore Loan Managemenr Services, LLC and MTGLQ Investors, LP

Page 12 of 13

 

Case 8:17-CV-O3117-V|\/|C-AAS Document 1 Filed 12/29/17 Page 13 of 13 Page|D 13

e. Ordering an injunction preventing further wrongful contact by the
Defendant; and

f. Any other and further relief as this Court deems equitable

DEMAND F()R JURY TRIAL

Plaintiff, Mark Shevchik, demands a trial by jury on all issues so triable.

Respectfully submitted this December 26, 2017,

/s/ Michael A. Ziegler
l\/Iichael A. Ziegler, Esq.

Florida Bar No. 74864
mike@zieglerlawoffice.com

/S/ Kaelyn Steinkraus
Kaelyn Steinkraus, Esq.

Florida Bar No. 125132
kaelvn@zieglerlawoffice.com

Law Office of Michael A. Ziegler, P.L.
13575 58th Street North, Suite 129
Clearwater, FL 33760

(p) (727) 538-4188

(f) (727) 362-4778

Attorneys and Trial Counsel for Plaintiff

Plaintil`f`s Complaint and Demand for lug Trial with |njunctivc Rclicl` Sought
Shevchik v. Rushmore Loan Managemen! Service.r, LLC and MTGLQ lnveslars, LP
Page 13 of 13

